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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  BEVERLY ZIMMERMAN, et al., on
  behalf of themselves and all others       Case No. 1:17-cv-1062
  similarly situated,
                                            Hon. Hala Y. Jarbou
        Plaintiffs,

  v.

  THE 3M COMPANY f/k/a Minnesota
  Mining and Manufacturing Co., et al.,

        Defendants.


            PLAINTIFFS’ UNOPPOSED MOTION FOR
   ATTORNEYS’ FEES, LITIGATION COSTS, AND SERVICE AWARDS
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       Class Counsel and Class Representatives Plaintiffs Therese Cooper, Dennis

 Gregory, Malia Gregory, Megan Johns, Michael Johns, Michelle VanWuffen

 (individually and as Trustee of the Terry Alan VanWuffen and Michelle Lisa

 VanWuffen Trust), Terry VanWuffen (individually and as Trustee of the Terry Alan

 VanWuffen and Michelle Lisa VanWuffen Trust), Rosalyn Ingham, Paul

 Groenendal, Nancy James (individually and as Trustee of the James Nancy I Trust),

 and Theodore James (collectively “Plaintiffs”), by and through their undersigned

 attorneys, respectfully move the Court for an Order:

       (1) Approving attorneys’ fees in the amount of one-third, or 33⅓%, of the

          Gross Settlement Fund after deduction of reasonable litigation costs and

          Service Awards, or $17,416,825.04;

       (2) Approving reimbursement of reasonable litigation costs and expenses

          incurred by Class Counsel in the amount of $1,500,000;

       (3) Granting Class Representatives in Tier One (as defined in the Settlement

          Agreement at § 1.ww., ECF No. 617-2, PageID.26867; see also id. at §

          6.a., PageID.26877-26878), Therese Cooper, Dennis Gregory, Malia

          Gregory, Megan Johns, Michael Johns, Michelle VanWuffen and Terry

          VanWuffen, a Service Award of $25,000 each in recognition of their

          efforts on behalf of the Class, totaling in the aggregate $175,000;




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       (4) Granting Class Representatives in Tier Two (as defined in the Settlement

          Agreement at § 1.ww., id.; see also id. at § 6.a., PageID.26877-26878),

          Rosalyn Ingham, Paul Groenendal, Nancy James, and Theodore James, a

          Service Award of $15,000 in recognition of their efforts on behalf of the

          Class, totaling in the aggregate $60,000; and

       (5) Awarding such other and further relief as the Court deems reasonable and

          just.

       The undersigned counsel certifies that counsel communicated with opposing

 counsel on March 3, 2023, explaining the nature of the relief to be sought by way of

 this Motion and seeking concurrence in the relief; Defendants’ counsel does not

 oppose the relief requested in this Motion.

   Dated: March 3, 2023                        Respectfully submitted,

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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  BEVERLY ZIMMERMAN, et al., on
  behalf of themselves and all others       Case No. 1:17-cv-1062
  similarly situated,
                                            Hon. Hala Y. Jarbou
        Plaintiffs,

  v.

  THE 3M COMPANY f/k/a Minnesota
  Mining and Manufacturing Co., et al.,

        Defendants.


    PLAINTIFFS’ BRIEF IN SUPPORT OF UNOPPOSED MOTION FOR
   ATTORNEYS’ FEES, LITIGATION COSTS, AND SERVICE AWARDS
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                    STATEMENT OF ISSUES PRESENTED

 1.    Whether this Court should award Class Counsel attorneys’ fees in the amount
       of one-third (33⅓%), or $17,416,825.04 from the Gross Settlement Fund of
       $54,000,000, a common fund created for the benefit of the Class, after
       deduction of reasonable litigation costs and Service Awards, to compensate
       and reimburse Class Counsel for achieving a substantial cash benefit for a
       class of property owners whose properties were allegedly contaminated by
       PFAS chemicals in the North Kent Study Area (“NKSA”) in Kent County,
       Michigan?

             Plaintiffs Answer:                      Yes

             The Court Should Answer:                Yes

 2.    Whether this Court should reimburse and award Class Counsel reasonable
       litigation costs in the amount of $1,500,000, incurred in representing the class
       of property owners whose properties were allegedly contaminated by PFAS
       in the NKSA?

             Plaintiffs Answer:                      Yes

             The Court Should Answer:                Yes

 3.    Whether this Court should grant Class Representatives in Tier One (as defined
       in the Settlement Agreement at § 1.ww., ECF No. 617-2, PageID.26867; see
       also id. at § 6.a., PageID.26877-26878), Therese Cooper, Dennis Gregory,
       Malia Gregory, Megan Johns, Michael Johns, Michelle VanWuffen and Terry
       VanWuffen, Service Awards of $25,000 each, or $175,000 in the aggregate,
       in recognition of their efforts on behalf of the Class?

             Plaintiffs Answer:                      Yes

             The Court Should Answer:                Yes

 4.    Whether this Court should grant Class Representatives in Tier Two (as
       defined in the Settlement Agreement at § 1.ww., id.; see also id. at § 6.a.,
       PageID.26877-26878), Rosalyn Ingham, Paul Groenendal, Nancy James,
       individually and as Trustee of the James Nancy I Trust, and Theodore James,

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       Service Awards of $15,000 each, or $60,000 in the aggregate, in recognition
       of their efforts on behalf of the Class?


             Plaintiffs Answer:                   Yes

             The Court Should Answer:             Yes




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        CONTROLLING AND MOST APPROPRIATE AUTHORITIES

        • Fed. R. Civ. P. 23(h)

        • Ramey v. Cincinnati Enquirer, Inc.,
          508 F.2d 1188 (6th Cir. 1974)




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     I.      INTRODUCTION
          After nearly five and a half years of dedicated litigation efforts, Class Counsel

  have successfully negotiated a settlement of this environmental class action with

  Defendants Wolverine Worldwide, Inc. (“Wolverine”) and The 3M Company

  (“3M”). The proposed Settlement Agreement (“Settlement” or, “S.A.”), if approved

  by the Court, will resolve this case and all claims brought in their entirety in

  exchange for $54 million in cash. See ECF No. 617-2. This substantial recovery was

  secured only as a result of persistent and diligent advocacy and the considerable

  investment of time, expenses, and risk-taking of Class Counsel. The Settlement

  provides a substantial and certain recovery for the Settlement Class, while

  eliminating the risks of continued litigation, through the completion of discovery,

  class certification, summary judgment, trial, and appeals. With no guarantee of

  recovery when they initiated the case, Class Counsel devoted the necessary time and

  financial resources in order to achieve a strong result for the Settlement Class.

  Moreover, Class Counsel have invested and will continue to invest time and

  resources to implement this Settlement. For these efforts, Class Counsel have

  received no compensation to date.

          As detailed in the Joint Declaration, Class Counsel vigorously pursued this

  litigation from its outset, and was fully prepared to take the case to trial. Among their

  efforts, Class Counsel: (i) conducted a thorough legal and factual investigation into


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  the Settlement Class’s claims; (ii) researched and drafted the initial underlying

  complaints, the Consolidated Amended Complaint, a Second Amended Complaint,

  and finally the operative Third Amended Complaint; (iii) opposed and defeated

  multiple motions including a motion to dismiss for lack of CAFA jurisdiction;

  opposed and substantially defeated Defendants’ motions to dismiss; (iv) engaged in

  extensive and contested discovery, including: written discovery, coordination and

  production of Class Representative documents, review and analysis of over a million

  pages of documents from Wolverine, 3M, governmental agencies and third-parties,

  taking and defending multiple depositions, including depositions of Experts and fact

  witnesses, Class Representatives, participating in property inspections of Class

  Representatives’ personal residences during the height of a global pandemic; (v)

  development of expert reports in multiple disciplines, including toxicology,

  epidemiology, fate and mobility of hazardous waste contamination, hydrogeology,

  and economic losses related to property damages and the affirmative and defensive

  research, drafting and submission of voluminous briefing related to multiple experts;

  (vi) extensive legal analysis related to the preparation of a detailed and well-founded

  motion for class certification; (vii) engaged in protracted and hard-fought settlement

  negotiations over an extended period of time with the former Chief Judge for the

  Eastern District of Michigan, the Honorable Judge Gerald J. Rosen (“Judge Rosen”);

  and (viii) moved for and obtained the appointment of a Special Allocation Master,

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  Retired Judge Marina Corodemus, and engaged in the substantial and diligent

  development of a fair and equitable plan of allocation. In addition to the above, Class

  Counsel engaged in innumerable other tasks related to managing and prosecuting

  this matter since its inception. See generally Joint Declaration of Co-Lead Class

  Counsel, Sharon S. Almonrode and Esther Berezofsky (“Joint Decl.”).

        From inception through February 15, 2023, Class Counsel have reported

  38,354.89 hours—with a resulting lodestar of $22,367,689.95—to the investigation,

  prosecution, and resolution of the Action. 1 Joint Decl. at ¶ 21. Unlike most cases in

  which counsel seek a fee which exceeds their lodestar, see, e.g., In re Cardinal

  Health Inc. Sec. Litigation, 528 F. Supp. 2d 752, 767 (S.D. Ohio 2007) (observing

  that “[m]ost courts agree that the typical lodestar multiplier in a large … class

  action[] ranges from 1.3 to 4.5”), Class Counsel’s fee request here is actually less

  than the total lodestar value of the time that Class Counsel dedicated to the Action.

  It is against this backdrop that Class Counsel respectfully submit their request for a

  fee award of one-third (or, 33⅓%), of the Settlement Fund, a request which is made

  pursuant to retention agreements with the Class Representatives at the outset of the

  litigation. This request is fully supported by the Class Representatives.

        Pursuant to the Court’s Preliminary Approval Order, 2,123 Short Form



  1
       Class Counsel will continue to devote resources to the Action through the
  completion of the settlement administration process.
                                           3
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  Notices were disseminated by the General Administrator Angeion via first class mail

  to potential Settlement Class Members and nominees beginning on October 19,

  2022. See contemporaneously filed Declaration of the Settlement Administrator

  (“Angeion Decl.”) at ¶ 13. The Notice advises recipients that Class Counsel intend

  to apply to the Court for an award of attorneys’ fees in an amount not to exceed one-

  third (or, 33⅓%), of the Settlement Fund, after deduction for reimbursement of

  reasonable litigation costs as well as Service Awards for Class Representatives not

  to exceed $235,000. See Ex. A to Angeion Decl. The litigation costs sought by Class

  Counsel are reasonable and do not exceed the amount of $1,500,000 set forth in the

  Settlement Agreement. See S.A. at § 6.a., ECF No. 617-2, PageID.26877.2 The

  Notice further informs Settlement Class Members of their right to object to the

  requests for attorneys’ fees, litigation costs and service awards.3 No objections were

  received regarding attorneys’ fees, litigation costs or service awards. Angeion Decl.

  at ¶ 26. A single objection to the Settlement was received on unrelated grounds. 4 Id.



  2
        Class Counsel cumulatively report costs of $1,514,524.88, however, due to
  the maximum amount of reasonable litigation costs pursuant to the Settlement
  Agreement, Plaintiffs and Class Counsel herein request $1,500,000, consistent with
  the Settlement Agreement. S.A. at § 6.a, ECF No. 617-2, PageID.26877.
  3
        Claimants had until December 5, 2022 to object. Angeion Decl. at ¶ 26.
  4
        See ECF Nos. 627 (Objection); ECF No. 629 (Plaintiffs’ Response to
  Objection); ECF No. 630 (Defendants’ Response to Objection).

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            Accordingly, Plaintiffs respectfully request, pursuant to Federal Rule of Civil

  Procedure 23(h), that the Court approve Class Counsel’s request for reimbursement

  of reasonable litigation costs in the amount of $1,500,000, attorneys’ fees of one-

  third (or, 33⅓%), of the Settlement Fund after reasonable litigation costs and service

  awards are deducted, or $17,416,825.04, as well as Service Awards of $25,000 for

  each Tier One Class Representative 5 and Service Awards of $15,000 for each Tier

  Two Class Representative6, totaling $235,000 in the aggregate, for their substantial

  service and efforts to the Settlement Class.

            For these reasons, and as explained further below, this Court should approve

  the requested attorney’s fees, reasonable litigation costs, and service awards.

      II.         BACKGROUND
            A.     Procedural History
            On December 1, 2017, the Zimmerman Plaintiffs filed the first-class action

  complaint in this litigation against Defendants The 3M Company and Wolverine

  World Wide, Inc. ECF No. 1. Subsequently, the Johns and Henry Plaintiffs filed

  class action complaints on October 8, 2018 (Johns v. Wolverine World Wide, Inc., et

  al., Case No. 18-cv-01302 (W.D. Mich.)) and December 4, 2018 (Henry v.

  Wolverine World Wide, Inc. et al., Case No. 19-cv-00379 (W.D. Mich.)). On

  5
       As defined in the Settlement Agreement under § 1.ww., ECF No. 617-2,
  PageID.26867; see also id. at § 6.a., PageID.26877-26878.
  6
            Id.
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  October 3, 2019, this Court entered an Order consolidating the three cases under the

  Zimmerman case number and caption for all purposes and directing the filing of an

  amended consolidated complaint. ECF No. 151. Plaintiffs collectively filed a new

  and Consolidated Amended Class Action Complaint on October 17, 2019. ECF No.

  154.

         On May 22, 2020, Plaintiffs filed the operative Second Amended

  Consolidated Class Action Complaint. ECF No. 197 (the “SAC”). The SAC asserts

  claims for negligence and nuisance against Defendants and seeks monetary

  compensation from Defendants for the contamination of Plaintiffs’ soil and drinking

  water, the interference with and disruption of their lives, the loss of their right to

  quiet use and enjoyment of their properties, the diminution of the values of their

  properties as a result of Defendants’ wrongful conduct, and the substantial risk of

  imminent harm from the continuing increased risk of contamination and exposure.

  The SAC also seeks injunctive, remedial, and medical monitoring relief. Interim Co-

  Lead Class Counsel and the Plaintiffs’ Steering Committee (collectively “Class

  Counsel”) was appointed on June 4, 2020. ECF No. 198. On January 11, 2021,

  Defendants moved to dismiss the SAC pursuant to Federal Rule of Civil Procedure

  12(b)(6). ECF Nos. 208-211. Defendants argued that Plaintiffs failed to adequately

  state a claim for their negligence and private nuisance claims, that Wolverine’s

  settlement with the Michigan Department of Environmental Quality (“MDEQ”)

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  precluded Plaintiffs’ public nuisance claims, that the doctrine of primary jurisdiction

  barred Plaintiffs’ claims for injunctive or remedial relief, and that Michigan law does

  not recognize medical monitoring. Id. On June 8, 2021, the Court entered an order

  granting in part and denying in part Defendants’ motions to dismiss. ECF No. 262;

  see also Opinion, ECF No. 261. The Court ruled that Plaintiffs’ negligence claim

  was dismissed only “to the extent the claim [wa]s based on physical injury, as

  opposed to injury to property.” ECF No. 261, PageID.7666.

        The Court denied Defendants’ motions in all other respects. Id. More recently,

  the following motions were filed and remain pending:

            • On August 30, 2021, Plaintiffs moved for class certification and served

               six expert reports in support thereof. ECF Nos. 291, 280-285;

            • On September 24, 26 and 27, 2021, Defendants filed expert reports

               (ECF Nos. 311-327), and, on September 27, 2021, filed oppositions to

               Plaintiffs’ class certification motion. ECF Nos. 331, 332;

            • On October 12, 2021, Plaintiffs filed their reply to Defendants’

               opposition to Plaintiffs’ motion for class certification. ECF No. 355;

            • On November 12, 2021, Plaintiffs filed motions to exclude the reports

               and testimony of thirteen defense expert witnesses (ECF Nos. 381-382;

               385-386; 389-390; 393-394; 397-398; 401-402; 408-409; 414-415;

               418-419; 422-423; 427-428; 438-439; 447-448); and to preclude

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               cumulative expert testimony (ECF Nos. 443-444), and Defendants

               moved to exclude the reports and testimony of five Plaintiff expert

               witnesses. ECF Nos. 406-407; 411-412; 426; 432; 431; 434; 435-436;

               437; 440; and the Parties filed their respective oppositions and replies

               on February 3, 2022 and February 28, 2022. ECF Nos. 485-509; 542-

               568; and

             • On November 18, 2021, Defendants filed eight motions for summary

               judgment, seeking to dismiss the claims of various class representatives

               and putative class members as well as Plaintiffs’ negligence claims and

               claims for non-economic damages. ECF Nos. 455-474. Plaintiffs filed

               oppositions to Defendants’ summary judgment motions on February

               24, 2022. ECF Nos. 518, 523, 525, 527, 528, 531, 533, 536.

        During the pendency of these motions, the Parties continued to engage in

  extensive mediation sessions. Thus, the Court has not issued rulings on Plaintiffs’

  motion for class certification, the motions to exclude various experts or evidence, or

  on Defendants’ motions for summary judgment.

        B.     Mediation and Settlement Negotiations
        The Parties mutually agreed to mediate and selected as mediator, the

  Honorable Judge Gerald J. Rosen, Retired Chief Judge of the Eastern District of

  Michigan, who was appointed by the Court on February 3, 2021. ECF No. 222.


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  Thereafter, the Parties began mediation efforts, including extensive written

  mediation statements and proposals for resolution, as well as substantive discussions

  with Judge Rosen.

        The Parties continued to engage in good faith mediation efforts for over a

  year. On March 8, 2022, following a seventeen-hour mediation session with Judge

  Rosen in the Federal Courthouse in Lansing, the Parties reached a settlement in

  principle, subject to client approval, and placed this confidential agreement in

  principle on the record before the Court. Over the next several months, the Parties

  negotiated the details of the settlement and drafted the written settlement agreement,

  requisite notices, and other settlement related documents. The written Settlement

  Agreement was fully executed by all Parties on September 15, 2022.

     III.   SUMMARY OF THE SETTLEMENT
        The Settlement—the product of, then, nearly five years of litigation and

  extensive negotiations—creates a non-reversionary common fund of $54 million

  that will provide direct payments to Settlement Class Members for claimed damages

  to properties for diminution of value, nuisance resulting in the inconvenience and

  loss of use and quiet enjoyment of Settlement Class Members’ properties, and other

  relief. S.A. at § 1.xxx, ECF No. 617-2, PageID.26872. The Settlement provides relief

  to property owners in the North Kent Study Area (NKSA) related to the alleged

  PFAS contamination of their water supply and properties from Defendants’ alleged


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  wrongful conduct. Accordingly, subject to the terms of the S.A., the largest

  payments will be allocated to those property owners whose residential drinking

  water wells tested positive for PFAS compounds regulated by the State of Michigan

  in excess of the levels provided for in Michigan Regulation 325.10604g (“Maximum

  Contaminant Levels” or “MCLs”). To be eligible for compensation, current or

  former owners of real property located within the boundaries of the NKSA as of

  November 1, 2017, who were not supplied with drinking water from a municipal

  water source as of November 1, 2017, must register and submit a claim.

     IV.     THE REQUESTED FEE AWARD IS REASONABLE AND
             SHOULD BE APPROVED
        A.    Class Counsel Are Entitled to an Award of Attorneys’ Fees From
              the Common Fund
        It has long been recognized that “a lawyer who recovers a common fund for

  the benefit of persons other than himself or his client is entitled to a reasonable

  attorneys’ fee from the fund as a whole.” N.Y. State Teachers’ Ret. Sys. v. Gen.

  Motors Co., 315 F.R.D. 226, 243 (E.D. Mich. 2016) (quoting Boeing Co. v. Van

  Gemert, 444 U.S. 472, 478 (1980)). Here, Class Counsel successfully negotiated and

  obtained a substantial gross settlement of $54,000,000 for the benefit of the

  Settlement Class, which constitutes a common fund. In awarding attorneys’ fees, “a

  court must make sure that counsel is fairly compensated for the amount of work done

  as well as for the results achieved.” Rawlings v. Prudential-Bache Props., Inc., 9


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  F.3d 513, 516 (6th Cir. 1993) (citation omitted). In the Sixth Circuit, the standard

  for an award of attorneys’ fees in a common fund case is that the award be

  “reasonable under the circumstances.” Id.; see also In re Delphi Corp. Sec.,

  Derivative & “ERISA” Litig., 248 F.R.D. 483, 502 (E.D. Mich. 2008). As

  established below, the requested fees overwhelmingly satisfy this standard.

        B.    The Court Should Calculate Fees as a Percentage of the Common
              Fund

        Where a settlement produces a common fund, courts in the Sixth Circuit have

  discretion whether to employ either the percentage-of-the-fund method or the

  lodestar method in awarding attorneys’ fees. Rawlings, 9 F.3d at 516-17.

  Notwithstanding that discretion, this Circuit has observed a “trend towards adoption

  of a percentage of the fund method in [common fund] cases.” Id. at 515; see also In

  re Se. Milk Antitrust Litig., 2013 WL 2155387, at *2 (E.D. Tenn. May 17, 2013).7


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          Other circuits have similarly endorsed the percentage-of-recovery method.
  See, e.g., In re Thirteen Appeals Arising out of the San Juan Dupont Plaza Hotel
  Fire Litig., 56 F.3d 295, 305 (1st Cir. 1995); In re World Trade Ctr. Disaster Site
  Litig., 754 F.3d 114, 127 (2d Cir. 2014); In re Gen. Motors. Corp. Pick-Up Truck
  Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 821-22 (3d Cir. 1995); Harman v.
  Lyphomed, Inc., 945 F.2d 969, 975 (7th Cir. 1991); Johnston v. Comerica Mortg.
  Corp., 83 F.3d 241, 246 (8th Cir. 1996); Vizcaino v. Microsoft Corp., 290 F.3d 1043,
  1047 (9th Cir. 2002); Brown v. Phillips Petroleum Co., 838 F.2d 451, 454-56 (10th
  Cir. 1988). The Eleventh and District of Columbia Circuits even require the use of
  the percentage method in common fund cases. See Camden I Condo. Ass’n, Inc. v.
  Dunkle, 946 F.2d 768, 773-74 (11th Cir. 1991); Swedish Hosp. Corp. v. Shalala, 1
  F.3d 1261, 1269-71 (D.C. Cir. 1993). Moreover, in Blum v. Stenson, 465 U.S. 886,
  900 n.16 (1984), the Supreme Court recognized that under the “common fund

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  Similarly, courts in Michigan District Courts have noted a “preference for the

  percentage-of-the fund method.” In re Cardizem CD Antitrust Litig., 218 F.R.D. 508,

  532 (E.D. Mich. 2003); see also In re F&M Distribs., Inc. Sec. Litig., 1999 U.S.

  Dist. LEXIS 11090 (E.D. Mich. June 29, 1999).

        The rationale for compensating counsel in common fund cases using the

  percentage-of-the-fund method is sound. First, this method “more accurately reflects

  the results achieved” and “has the virtue of reducing the incentive for plaintiffs’

  attorneys to over-litigate or ‘churn’ cases.” In re Skelaxin (Metaxalone) Antitrust

  Litig., 2014 WL 2946459, at *1 (E.D. Tenn. June 30, 2014) (citation omitted). In

  other words, the percentage-of-the-fund method “‘provides a powerful incentive for

  the efficient prosecution and early resolution of litigation.’” In re Se. Milk, 2013 WL

  2155387, at *2 (quoting Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121

  (2d Cir. 2005)). Second, the percentage-of-the-fund method decreases the burden

  imposed on courts by eliminating a detailed and time-consuming lodestar analysis,

  and courts employing the percentage-of-the-fund method often utilize a less arduous

  lodestar “cross-check” to confirm the reasonableness of the requested fee. See infra

  Section V.(F); see also Rawlings, 9 F.3d at 515. Moreover, as also set forth below

  in Section V.(F), a lodestar “cross-check” is not required, and is merely an additional



  doctrine” a reasonable fee may be based “on a percentage of the fund bestowed on
  the class[.]”
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  and optional check to confirm the reasonableness of a requested fee under the

  percentage-of-the-common fund approach.

        C.    The Requested Attorneys’ Fees Are Reasonable Under the
              Percentage-of-the-Fund Method
        Class Counsel’s one-third (33⅓%), fee request falls well within the range of

  fees awarded in the Sixth Circuit on a percentage basis in complex common fund

  cases. See In re Rio Hair Naturalizer Prods. Liab. Litig., 1996 WL 780512, at *18

  (E.D. Mich. Dec. 20, 1996) (recognizing acceptable range of fees to be 20% to 50%

  of the common fund). In complex class actions, Judges in Michigan District Courts

  commonly grant fee awards between 30-33% percent of the settlement fund. See,

  e.g., In re Caraco Pharm. Labs., Ltd. Sec. Litig., No. 2:09-cv-12830 (E.D. Mich.

  June 26, 2013), ECF No. 96 (Tarnow, J.) (awarding 33% fee) (attached hereto as

  Exhibit 1); Bd. of Trs. of the City of Birmingham Emps.’ Ret. Sys. v. Comerica Bank,

  2013 WL 12239522, at *6 (E.D. Mich. Dec. 27, 2013) (Murphy, J.) (awarding 30%

  fee); In re Lason, Inc. Sec. Litig., No. 2:99-cv-76079 (E.D. Mich. Mar. 31, 2003),

  ECF No. 93 (Tarnow, J.) (awarding 30% fee) (attached hereto as Exhibit 2); In re

  Cardizem, No. 2:99-md-1278 (E.D. Mich. Nov. 25, 2002), Order No. 47 (Edmunds,

  J.) (awarding 30% fee) (attached hereto as Exhibit 3).

        Moreover, ample Sixth Circuit precedent exists for granting fees to plaintiff’s

  counsel in class actions and other complex litigation that are equal to Class

  Counsel’s 33⅓% fee request here. See In re Se. Milk, 2013 WL 2155387, at *3

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  (finding 33% “is certainly within the range of fees often awarded in common fund

  cases, both nationwide and in the Sixth Circuit”). See, e.g., Burges v. Bancorpsouth,

  Inc., No. 3:14-cv-01564 (M.D. Tenn. Sept. 21, 2018), ECF No. 265 (awarding fees

  of 33⅓% of $13 million settlement fund, resulting in negative multiplier) (attached

  hereto as Exhibit 4); Dudenhoeffer v. Fifth Third Bancorp, 2016 WL 8135394, at

  *1 (S.D. Ohio July 11, 2016) (awarding fees of 33⅓% of $6 million settlement fund,

  resulting in 0.65 multiplier); In re Prandin Direct Purchaser Antitrust Litig., 2015

  WL 1396473, at *4-5 (E.D. Mich. Jan. 20, 2015) (awarding 33.3% of $19 million

  settlement fund, resulting in 3.01 multiplier); In re Regions Morgan Keegan Sec.,

  Derivative & Erisa Litig., 2013 WL 12110279, at *7-8 (W.D. Tenn. Aug. 6, 2013)

  (awarding 30% of $62 million settlement fund, resulting in 3.1 multiplier); In re Se.

  Milk, 2013 WL 2155387, at *8 (awarding 33⅓% of $158.6 million settlement fund,

  resulting in 1.90 multiplier); In re Chemed Corp. Sec. Litig., 2014 WL 12650642, at

  *1 (S.D. Ohio July 15, 2014) (awarding 33% of $6 million settlement fund, resulting

  in 0.85 multiplier).

        Here, Class Counsel’s request of one-third is well within the range of

  reasonableness in this Circuit due to Class Counsel’s substantial recovery for the

  benefit of the Settlement Class, coupled with the extensive work and substantial risk

  and complexity of the claims over the lengthy duration of over five and a half years,



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  resulting in a negative multiple. As such, this Fee Request is fair, reasonable, and

  should be approved.

     V.        THE REASONABLENESS OF THE REQUESTED FEES AND
               COSTS IS SUPPORTED BY THIS CIRCUIT’S SIX-FACTOR TEST
          The Sixth Circuit articulates six factors that are “germane” to determining the

  reasonableness of a requested percentage to award as attorneys’ fees: (1) the value

  of the benefit to the class; (2) society’s stake in rewarding attorneys who produce

  the settlement’s benefits, to maintain an incentive to others; (3) whether the work

  was performed on a contingent fee basis; (4) the complexity of the litigation; (5) the

  skill and standing of counsel on both sides; and (6) the value of the legal services

  performed on an hourly basis. Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188,

  1196 (6th Cir. 1974); Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269, 280

  (6th Cir. 2016) (describing the Ramey factors as “germane” to the fee inquiry, and

  citing Moulton v. U.S. Steel Corp., 581 F.3d 344, 352 (6th Cir. 2009)); Bowling v.

  Pfizer, Inc., 102 F.3d 777, 780 (6th Cir. 1996). Each of the Ramey factors confirms

  that the requested 33⅓% fee is fair and reasonable.

          A.     The Value of the Benefit Rendered to the Settlement Class
                 Supports the Requested Fee

          The first Ramey factor requires courts to evaluate the benefit of the recovery

  for the class. “District courts in this Circuit widely regard [this] factor as the most

  important.” Cardinal Health, 528 F. Supp. 2d at 764; see also In re DPL Inc., Sec.


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  Litig., 307 F. Supp. 2d 947, 951 (S.D. Ohio 2004) (“Herein, the award of attorneys’

  fees must be driven by the results obtained by Plaintiffs’ counsel.”). Here, the $54

  million Settlement is an excellent result for the Settlement Class, both quantitatively

  and especially so when considering the risk of obtaining a smaller recovery (or no

  recovery) had the Action proceeded to trial.

        In addition to representing a substantial portion of the Settlement Class’s

  estimated damages, the Settlement is also significant in light of the risks to further

  litigation. Presently, twenty Daubert motions and multiple Motions in Limine are

  pending before this Court; that is in addition to Plaintiffs’ Motion for Class

  Certification and Defendants’ eight Motions for Summary Judgment. See ECF Nos.

  381, 385, 389, 393, 397, 401, 406, 408, 411, 414, 418, 422, 426, 427, 431, 434, 437,

  438, 444, 447 (Dauberts); 291 (class certification); 518, 523, 525, 527, 528, 531,

  533, 536 (MSJs). Extensive time and resources of the Court and Parties will

  necessarily be required for the preparation of, and oral argument and for the Court

  to issue written opinions on each and every pending motion, including nine

  dispositive motions. Only after the Court’s rulings on all the legal issues pending as

  described herein, could the Parties engage in the time-intensive pre-trial

  requirements including drafting and arguing jury instructions, evidentiary disputes

  over voluminous exhibits, numerous deposition designations, multiple motions in

  limine, preparing and entering the final pre-trial order and a lengthy and complex

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  final pre-trial conference, in addition to the very considerable costs associated with

  prosecuting a potentially lengthy jury trial.

        A jury trial would be lengthy and complex given the factual and legal issues

  involved. Assuming Plaintiffs prevailed at trial, given the likelihood of post-trial

  motions and appeals to follow, it would likely still be years before Settlement Class

  members would receive any compensation. Alternatively, the Settlement efficiently

  provides prompt and substantial relief to the Settlement Class.

        Thus, the Settlement Amount—$54 million, particularly given the above

  described uncertainty, and necessary resources —provides an outstanding value to

  the Class that will provide a guaranteed recovery, while avoiding the many

  complexities and risks of further litigation.

        B.     Society’s Stake in Rewarding Attorneys Who Produce Meaningful
               Benefits to Class Members Supports the Fee Request

        The second Ramey factor requires courts to consider “society’s stake in

  rewarding attorneys who produce such benefits in order to maintain an incentive to

  others.” In Re Cardizem, 218 F.R.D. at 533; In re Telectronics Pacing Sys., Inc., 137

  F. Supp. 2d 1029, 1043 (S.D. Ohio 2001) (“Attorneys who take on class action

  matters serve a benefit to society and the judicial process by enabling such small

  claimants to pool their claims and resources.”). Adequate compensation is a

  necessary component of encouraging attorneys to undertake such risk. See Eltman

  v. Grandma Lee’s, Inc., 1986 WL 53400, at *9 (E.D.N.Y. May 28, 1986) (“To make
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  certain that the public is represented by talented and experienced trial counsel, the

  remuneration should be both fair and rewarding.”); In re Flint Water Cases, 583 F.

  Supp. 3d 911, 938 (E.D. Mich. 2022) (“The interest in encouraging lawyers to bring

  complicated cases, which likely will involve a multi-year commitment, particularly

  where an entire community of people allege that they suffered harm to their health,

  their property . . . is significant.”). Complex environmental contamination class

  actions such as this are resource intensive and require a significant commitment of

  time and expense to pursue. This is especially true where, as here, the claims at issue

  require extensive expert testimony and the individual damages suffered by some

  Plaintiffs may be significantly less than the cost of prosecuting the action. Public

  policy thus strongly supports the requested fee. Without the prospect of eventual

  compensation for Plaintiffs’ Counsel here, these cases might never have been

  brought. Approving Class Counsel’s fee request will help ensure that plaintiffs’

  attorneys continue to take up important cases like this one in the future. Finally, the

  Settlement Class’s reaction to the requested fee award demonstrates recognition of

  the societal value of the work performed by Class Counsel. See Delphi, 248 F.R.D.

  at 504 (“The Class’s overwhelming favorable response lends further support to the

  conclusion that the requested fee award is fair and reasonable.”).

        The Notices, preliminarily approved by the Court, specifically stated Class

  Counsel intent to move for reimbursement of reasonable litigation costs, Service

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  Awards not to exceed $235,000, and apply for a fee of up to 33⅓% of the Settlement

  Fund (after deduction of reasonable litigation costs and Service Awards). See Order,

  ECF No. 623, PageID.27174 (preliminarily approving all terms of the S.A. and its

  Exhibits); ECF No. 617-2, PageID.26978 (Notice, Ex. D to the S.A.). Since the

  dissemination of the Notice, not a single Settlement Class Member has submitted an

  objection to the Settlement on the grounds of the fee, cost, or service award request.

  Only one total Objection out of approximately 1,733 putative class members was

  filed—on grounds unrelated to Attorneys’ Fees, Costs or Service Awards. See ECF

  No. 627 (Objection) and ECF Nos. 629 and 630 (Plaintiffs’ and Defendants’

  Responses to Objections). As numerous courts have observed, “the absence of a

  large number of objections to a proposed class action settlement raises a strong

  presumption that the terms of a proposed class settlement action are favorable to the

  class members.” Bowman v. Art Van Furniture, Inc., 2018 WL 6445389, at *6 (E.D.

  Mich. Dec. 10, 2018) (Edmunds, J) (quotation omitted). Further, where the

  “overwhelming majority of class members have elected to remain in the Settlement

  Class, without objection, [that] constitutes the ‘reaction of the class,’ as a whole, and

  demonstrates that the Settlement is ‘fair, reasonable, and adequate.’” In re Cardizem,

  218 F.R.D. at 527. Here, only a single objection was filed, constituting an objection

  rate of 0.058%, which raises a strong presumption that the Settlement is favorable

  for the Class and “demonstrates that the Settlement is ‘fair, reasonable, and

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  adequate.’” Id.

        Thus, the Settlement Class, as a microcosm of society as a whole, has

  recognized the societal value of this litigation by giving the Settlement a resounding

  stamp of approval, thus supporting this factor of the requested award.

        C.     The Contingent Nature of Class Counsel’s Representation
               Supports the Fee Request

        “Whether counsel’s services were undertaken on a contingent fee basis is

  another factor for the Court to consider in evaluating a fee request.” Delphi, 248

  F.R.D. at 503. Indeed, courts in this Circuit recognize that the attorneys’ contingent

  risk “counsels in favor of a generous fee.” F&M, 1999 U.S. Dist. LEXIS 11090, at

  *18 (noting importance that counsel “undertook this case on a contingent fee basis,

  which required them to fund all significant litigation costs while facing the risk of

  rejection of their clients’ claims on the merits”); Stanley v. U.S. Steel Co., 2009 WL

  4646647, at *3 (E.D. Mich. Dec. 8, 2009) (“A contingency fee arrangement often

  justifies an increase in the award of attorneys’ fees.”). Class Counsel have received

  no compensation during the more five and a half years that this Action has been

  ongoing. During this time, Class Counsel invested over 38,354.89 hours for a total

  lodestar of $22,367,689.95 and incurred out-of-pocket reasonable litigation costs of

  $1,514,524.88.8 Joint Decl. at ¶¶ 21, 23. Additional and substantial further work in



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        See FN.2 above.
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  connection with the Settlement, the present Motion, the Motion for Final Approval,

  and Claims Administration will still be required.

        Moreover, any fee award to Class Counsel has always been at substantial risk,

  and completely contingent on the result achieved and on this Court’s discretion in

  awarding fees and costs. This risk was substantially increased by the nearly five-

  and-a-half-year duration of the case to date. Unlike defense counsel—who are

  typically paid for their time whether they win or lose—Class Counsel sustained the

  entire risk by funding the expenses of this Action and that, unless Class Counsel

  succeeded, would not be entitled to any compensation or reimbursement of expenses

  whatsoever. See Delphi, 248 F.R.D. at 503-04 (granting fee request where “Counsel

  for the Securities Class have prosecuted this action entirely on a contingent basis,

  knowing that it possibly could last for four or five years, require the expenditure of

  thousands of attorney hours and millions of dollars in expenses and ultimately result

  in a loss at summary judgment or at trial.”).9


  9
          The commencement of a class action is no guarantee of success; these cases
  are not always settled, nor are counsel for plaintiffs always successful. There have
  been numerous hard-fought lawsuits where, because of discovery of facts unknown
  when the case was commenced, changes in the law during the pendency of the case,
  or a decision of a judge or jury following a trial on the merits, where many years of
  excellent professional efforts of members of the plaintiffs’ bar produced no fee to a
  plaintiff’s counsel. See, e.g., In re Oracle Corp. Sec. Litig., 2009 WL 1709050 (N.D.
  Cal. June 19, 2009) (granting summary judgment to defendants after eight years of
  litigation, and after plaintiffs’ counsel had incurred over $6 million in expenses and
  a lodestar of approximately $48 million (based on over 100,000 hours of time) aff’d,

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        D.     The Complexity of the Litigation Supports the Fee Request

        The fourth Ramey factor—the complexity of the litigation—is a significant

  factor to be considered in determining the reasonableness of an attorneys’ fee award.

  See Delphi, 248 F.R.D. at 504. “[M]ost class actions are inherently complex.” In re

  Telectronics, 137 F. Supp. 2d at 1013. This case is no exception.

        As the Court is aware, this Action involved numerous complex and disputed

  questions of law and fact that created significant risk for the ultimate outcome of the

  case. Indeed, Plaintiffs faced significant challenges associated with prevailing on

  any of the following, which, if lost, would significantly if not completely eliminate

  Plaintiffs’ claims: (1) class certification; (2) eight pending motions for summary

  judgment; (3) numerous challenges to expert testimony; (4) multiple evidentiary

  challenges; and (5) the difficulty of prevailing at trial. As detailed in the Joint

  Declaration, Class Counsel and the Class Representatives faced significant risks to

  proving Defendants’ liability, class certification, and damages. Joint Decl. at ¶ 8.

  Throughout the Action, Defendants vigorously contested Plaintiffs’ claims,




  627 F.3d 376 (9th Cir. 2010)); In re Omnicom Grp., Inc. Sec. Litig., 597 F.3d 501,
  504 (2d Cir. 2010) (affirming summary judgment in favor of defendants on loss
  causation grounds); In re BankAtlantic Bancorp, Inc., 2011 WL 1585605, at *1 (S.D.
  Fla. Apr. 25, 2011) (granting defendants’ judgment as a matter of law following
  plaintiff verdict); In re JDS Uniphase Corp. Sec. Litig., No. 4:02-cv-01486-CW
  (N.D. Cal. Nov. 27, 2007), ECF No. 1883 (verdict for defendants) (attached hereto
  as Exhibit 5); Robbins v. Koger Props. Inc., 116 F.3d 1441 (11th Cir. 1997) (jury
  verdict of $81 million for plaintiffs against an accounting firm reversed on appeal).
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  standing, the viability and even size of the potentially impacted putative class, scope

  of contamination, various causes of action, and alleged damages.

        The foregoing case-specific complexities made it far from certain that any

  recovery, let alone one as substantial as here, would ultimately be obtained.

        E.     The Professional Skill and Standing of Counsel Involved on Both
               Sides Supports the Fee Request

        The fifth Ramey factor evaluates the professional skill and standing of counsel

  in determining the reasonableness of a fee request. See Cardizem, 218 F.R.D. at 533.

  Here, the skill and standing of counsel for all parties was of the highest caliber.

        Both Class Counsel firms have national standing and extensive experience in

  litigating environmental and other complex class actions. See firm résumés attached

  as Exs. 1 & 2 to Joint Decl. Class Counsel prosecuted the case vigorously, provided

  high quality legal services, and achieved an excellent result for the Settlement Class.

  Moreover, the effort and skill of Class Counsel in surviving Defendants’ initial

  motions to dismiss, navigating through highly contested discovery, putting forth a

  strong class certification motion and numerous Daubert Motions and Motions in

  Limine, compellingly opposing eight Summary Judgment motions and presenting a

  strong case throughout the Parties’ settlement discussions was essential to achieving

  a meaningful resolution of the Action. See F&M, 1999 U.S. Dist. LEXIS 11090, at

  *19 (“The skill and competence of the attorneys for the Plaintiffs was evident,

  especially when viewed on the basis of the results that they obtained in this case[.]”).
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        The quality of opposing counsel is also important in evaluating the services

  rendered by Class Counsel. See Delphi, 248 F.R.D. at 504. Defendants were

  represented by very skilled attorneys from the nationwide firms of Arnold & Porter,

  Mayer Brown, LLP, Warner Norcross & Judd LLP, and Miller Canfield Paddock &

  Stone—all of which have well-deserved reputations for vigorous advocacy in the

  defense of complex civil cases such as this. See In re Adelphia Commc’ns Corp. Sec.

  & Derivative Litig., 2006 WL 3378705, at *3 (S.D.N.Y. Nov. 16, 2006) (“The fact

  that the settlements were obtained from defendants represented by formidable

  opposing counsel from some of the best defense firms in the country also evidences

  the high quality of Class Counsels’ work.”). In the face of this formidable opposition,

  Class Counsel were able to persuade Defendants to settle the case at both a point in

  the litigation and on terms that were highly favorable to the Settlement Class.

        Given the skill and standing of counsel on both sides, the reasonableness of

  the requested fee award is apparent.

        F.     The Value of Class Counsel’s Services on an Hourly Basis Is
               Reasonable
        The sixth and final factor assesses the value of the legal services performed

  on an hourly basis. In re Cardizem, 218 F.R.D. at 533. The value of the legal services

  performed on an hourly basis is also known as the “lodestar.” See Isabel v. City of

  Memphis, 404 F.3d 404, 415 (6th Cir. 2005) (citing Hensley v. Eckerhart, 461 U.S.

  424, 433 (1983)).
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        In this case, as discussed above, the percentage-of-the-fund method, not the

  lodestar method, is the appropriate method for computing a reasonable fee in this

  case. Thus, the only potential use for counsel’s lodestar in this case would be to

  “cross-check” that amount with the amount of fees requested by counsel as a

  percentage-of-the-fund. Even then, however, a cross-check of counsel’s lodestar is

  “not required,” and merely an option to emphasize reasonableness under a

  percentage-of-the-fund approach. See Loftus v. Outside Integrated Media LLC, Case

  No. 2:21-cv-11809 (E.D. Mich. Aug. 13, 2022) (Goldsmith, J.), ECF No. 36 (Order

  granting motions for final approval and attorneys’ fees, approving attorneys’ fee of

  35% without lodestar cross check, finding it reasonable in light of the multi-factor

  Ramey test) (Loftus Order attached hereto as Exhibit 6). Arp v. Hohla & Wyss

  Enterprises, LLC, 2020 WL 6498956, at *7 (S.D. Ohio Nov. 5, 2020); Love v.

  Gannett Co. Inc., 2021 WL 4352800, at *6 (W.D. Ky. Sept. 24, 2021) (noting that a

  “cross-check isn’t required,” and citing Van Horn v. Nationwide Prop. & Cas. Ins.

  Co., 436 F. App’x 496, 501 (6th Cir. 2011)); Est. of McConnell v. EUBA Corp., 2021

  WL 1966062, at *6 (S.D. Ohio May 17, 2021) (noting that, in considering the Ramey

  factors, “a lodestar cross-check” is “not required”). Rather, where the percentage-

  of-the-fund method is used to compute counsel’s fee, a lodestar cross-check is

  optional and entirely discretionary. See Van Horn, 436 F. App’x at 501 (finding that

  district courts have complete discretion when deciding to calculate attorneys’ fees

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  based on the percentage-of-the-fund or lodestar methods, and thus a cross-check

  analysis is optional). Delphi, 248 F.R.D. at 503 (applying percentage-of-the-fund-

  method in awarding fees in common-fund settlement, without addressing the Ramey

  factor pertaining to “the value of the services on an hourly basis”); Fournier v. PFS

  Invs. Inc., 997 F. Supp. 828, 832-33 (E.D. Mich. 1998) (same); Arp, 2020 WL

  6498956, at *7-8 (same).

        In this case, like in Loftus, Delphi, Fournier, and Arp, the circumstances

  giving rise to the Settlement demonstrate that a “cross-check” of the requested fee

  (33⅓% of the Settlement Fund) with the lodestar value of the time Class Counsel

  expended on the prosecution of solely this case is not necessary. As outlined above,

  the non-reversionary common-fund Settlement achieved in this case is a direct result

  of Class Counsel’s multi-year investigation into the contamination of Plaintiffs’ soil

  and drinking water, the interference with and disruption of their lives, the loss of

  their right to quiet use and enjoyment of their properties, the diminution of the values

  of their properties as a result of Defendants’ wrongful conduct. These extensive and

  time-consuming efforts are detailed at length in the Joint Decl. at ¶¶ 7-9 and above

  in Section II. Thus, the Court should not view this Settlement, or even this case, in a

  vacuum, but rather as part of an over five-and-a-half year project in which counsel

  devoted substantial time, money, and other resources for the benefit of owners of

  property in the North Kent Study Area—all on a contingency basis and without any

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  guarantee of recovering fees for their work or being reimbursed their out-of-pocket

  expenses.

        Should the Court choose to “cross-check” the requested fee, a lodestar cross-

  check fully supports Class Counsel’s 33⅓% fee request. As detailed herein and in

  the Joint Declaration, for over five-and-a-half years Class Counsel exerted

  substantial efforts in advancing this litigation in the face of aggressive and highly-

  skilled defense attorneys. In total, Class Counsel spent over 38,354.89 hours of

  attorney and other professional support time prosecuting the Action for the benefit

  of the Settlement Class from inception through February 15, 2023. Joint Decl. at ¶

  21. Based on these hours, Class Counsel’s lodestar is $22,367,689.95. Id.

  Accordingly, the 33⅓% fee request, after deduction of reasonable litigation costs of

  $1,500,000 and $235,000 requested in Service Awards, equates to $17,416,825.04

  (before interest) and is negative multiple.

        A “negative” or fractional multiplier is well below the range of multipliers

  commonly awarded in comparable litigation. Fee awards in class actions with

  substantial contingency risks generally represent positive multipliers of counsel’s

  lodestar, often ranging from one to four times the lodestar or even higher. See

  Cardinal Health, 528 F. Supp. 2d at 767 (approving multiplier of approximately 5.9,

  and observing that “[m]ost courts agree that the typical lodestar multiplier” on a

  large class action “ranges from 1.3 to 4.5”); Bailey v. AK Steel Corp., 2008 WL

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  553764, at *2-3 (S.D. Ohio Feb. 28, 2008) (awarding multiplier of 3.04, noting that

  “[c]ourts typically . . . increas[e] the lodestar amount by a multiple of several times

  itself” and identifying a “normal range of between two and five”); see also

  Cardizem, No. 2:99-md-1278-NGE at Order No. 47 (awarding fees amounting to

  3.7 multiplier) (Ex. 5 hereto); Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D. 496,

  503-04 (E.D. Mich. 2000) (awarding fees amounting to 2.49 multiplier); F&M, 1999

  U.S. Dist. LEXIS 11090, at *5, 19-20 (awarding fees amounting to 1.35 multiplier).

  Likewise, a review of the lodestar multipliers in the Sixth Circuit cases cited above

  at Section IV.(C), all of which involved percentage awards of 30% or higher in

  comparable complex litigation.

        Here, despite the numerous substantial litigation risks in the case from the

  outset, Class Counsel are seeking a fee that is less than the lodestar value of their

  time. Courts have repeatedly recognized that a percentage fee request that is less

  than counsel’s lodestar provides strong confirmation for the reasonableness of the

  award. See, e.g., The Rikos v. Proctor & Gamble Co., 2018 WL 2009681, at *10

  (S.D. Ohio Apr. 30, 2018) (“Dividing the amount Plaintiffs’ Counsel request

  ($4,139,987.48) by the lodestar results in a negative multiplier, which demonstrates

  that the fee sought is reasonable.”); In re Amgen Inc. Sec. Litig., 2016 WL 10571773,

  at *9 (C.D. Cal. Oct. 25, 2016) (“courts have recognized that a percentage fee that

  falls below counsel’s lodestar strongly supports the reasonableness of the award”).

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        Accordingly, the final Ramey factor also confirms the reasonableness of the

  requested fee award of 33⅓% of the Settlement Fund.

     VI.   CLASS  COUNSEL’S   LITIGATION   EXPENSES                              ARE
           REASONABLE AND SHOULD BE APPROVED
        Class Counsel also request reimbursement of the expenses they incurred in

  prosecuting and resolving the Action in the total amount of $1,500,000. “Under the

  common fund doctrine, class counsel is entitled to reimbursement of all reasonable

  out-of-pocket litigation expenses and costs in the prosecution of claims and

  settlement, including expenses incurred in connection with document production,

  consulting with experts and consultants, travel and other litigation-related

  expenses.” New England Health Care Emps. Pension Fund v. Fruit of the Loom,

  Inc., 234 F.R.D. 627, 634-35 (W.D. Ky. 2006), aff’d sub nom. Fidel v. Farley, 534

  F.3d 508 (6th Cir. 2008); see also In re Se. Milk, 2013 WL 2155387, at *7 (noting

  “[e]xpense awards are customary” in common fund cases).

        The amount of expenses for which Class Counsel seek reimbursement are

  detailed in the Joint Declaration of Co-Lead Counsel. The types of expenses for

  which Class Counsel seek reimbursement were necessarily incurred in this Action

  and are of the type routinely charged to classes in contingent litigation and clients

  billed by the hour. These include expenses associated with, among other things,

  research, travel, experts, document hosting/management, and mediation. See, e.g.,

  Gen. Motors, 315 F.R.D. at 244-45 (approving comparable expense categories and

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  finding them “the type routinely billed by attorneys to paying clients in similar

  cases”); Delphi, 248 F.R.D. at 505 (same).

        Accordingly, reimbursement of the requested expenses is reasonable and

  appropriate.

        In addition, the amount of expenses requested for reimbursement, a total of

  $1,500,000, is consistent with the maximum amount stated in the Settlement

  Agreement. See S.A. at § 6.a., ECF No. 617-2, PageID.26877. As set forth above, to

  date, there have been no objections to the maximum expense amount set forth in the

  Settlement Agreement. Joint Decl. at ¶ 20.

     VII. THE REQUESTED SERVICE AWARDS REFLECT THE CLASS
          REPRESENTATIVES’ ACTIVE INVOLVEMENT HERE AND
          SHOULD BE APPROVED
        Service awards are frequently awarded in common-fund cases within this

  Circuit. See Hadix v. Johnson, 322 F.3d 895, 898 (6th Cir. 2003); see also Daoust v.

  Maru Rest., LLC, 2019 WL 2866490, at *6 (E.D. Mich. July 3, 2019) (“[S]ervice

  awards are common in class action cases and are important to compensate plaintiffs

  for the time and effort expended in assisting the prosecution of the litigation, the

  risks incurred by becoming and continuing as a litigant, and any other burdens

  sustained by plaintiffs.”). The approval of an incentive award is examined through

  the following factors: (1) the actions taken to protect the class’s interests and whether

  that resulted in a substantial benefit to the class; (2) the financial risk the class


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  representative assumed; and (3) the time and effort the class representative

  dedicated. Lasalle Town Houses Coop Assoc. v. City of Detroit, 2016 WL 1223354,

  at *7 (E.D. Mich. Mar. 29, 2016). Based on these factors, a service award of $25,000

  for Tier One Plaintiffs and a service award of $15,000 for Tier Two Plaintiffs is

  reasonable.

        Courts regularly approve similar awards to reimburse class representatives for

  their time and effort on behalf of a class. In re Cardizem, 218 F.R.D. at 535; see also

  In re S. Ohio Corr. Facility, 175 F.R.D. 270, 273 & n.3 (S.D. Ohio 1997) (listing

  cases where incentive awards have been taken out of a common settlement fund);

  Enterprise Energy Corp. v. Columbia Gas Transmission Corp., 137 F.R.D. 240, 251

  (S.D. Ohio 1991) (approving incentive awards of $50,000 to each of the class

  representatives out of a settlement fund of $56.6 million); In re Dun & Bradstreet

  Credit Servs. Customer Litig., 130 F.R.D. 366, 373-74 (S.D. Ohio 1990) (approving

  incentive awards ranging from $35,000 to $55,000 out of a $18 million settlement

  fund); Brotherton v. Cleveland, 141 F. Supp. 2d 907, 913-14 (S.D. Ohio 2001).

        As detailed in their accompanying Declarations, the Class Representatives

  dedicated their personal time to the prosecution of the Action on behalf of the

  Settlement Class. Both Tier One and Tier Two Class Representatives, as classified

  by the Settlement Agreement (S.A. § 1.ww., ECF No. 617-2, PageID.26867, 26877-

  26878), reviewed significant pleadings and briefs; communicated regularly with

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  Class Counsel regarding issues in the case significant case developments, and

  litigation strategy; searched for and gathered documents in response to Defendants’

  document requests; and authorized the release of their personal records. Further,

  both Tier One and Tier Two Class Representatives made the inside and outside of

  their properties and personal residences available for inspection and permitted

  Defendants’ experts and counsel to conduct lengthy and intrusive inspections during

  the height of the COVID pandemic and approved the Settlement as well as Class

  Counsel’s fee and expense requests. See contemporaneously filed Declarations of

  Class Representatives Therese Cooper, Dennis Gregory, Malia Gregory, Megan

  Johns, Michael Johns, Michelle VanWuffen, Terry VanWuffen, Rosalyn Ingham,

  Paul Groenendal, Nancy James, and Theodore James (“Class Representatives

  Decls.”).

        Further, Therese Cooper, Michelle and Terry VanWuffen, Dennis and Malia

  Gregory, and Megan and Michael Johns, who are classified as Tier One Class

  Representatives, have been involved and assisted Class Counsel since the inception

  of the Action, providing critical information and documentation to support

  Plaintiffs’ and the putative Class’s claims from inception. The Tier One Class

  Representatives have been subjected to longer, and continuous, discovery

  obligations and supplemental responses, approval of additional pleadings throughout

  the nearly five-and-a-half year Action and sat through lengthy and invasive

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  depositions conducted by defense counsel, including being forced to answer

  questions about their personal health histories and those of their family members,

  personal habits, and other private matters for the benefit of the Class. See Class

  Representatives Decls., Ex. 9.

        As such, the proposed Tier One and Tier Two Service Awards are

  overwhelmingly fair, reasonable, and should be approved.

     VIII. CONCLUSION
        For the foregoing reasons, Plaintiffs respectfully request that the Court grant

  their Motion and enter an Order:

        (1) Approving attorneys’ fees in the amount of one-third, or 33⅓%, of the

           Gross Settlement Fund after deduction of reasonable litigation costs and

           Service Awards, or a total amount of attorneys’ fees of $17,416,825.04;

        (2) Approving reimbursement of reasonable litigation costs incurred by Class

           Counsel in the amount of $1,500,000;

        (3) Granting Class Representatives in Tier One (as defined in the Settlement

           Agreement at § 1.ww., ECF No. 617-2, PageID.26867; see also id. at §

           6.a., PageID.26877-26878), Therese Cooper, Dennis Gregory, Malia

           Gregory, Megan Johns, Michael Johns, Michelle VanWuffen, and Terry

           VanWuffen, a Service Award of $25,000 each, or $175,000 in the

           aggregate, in recognition of their efforts on behalf of the Class;


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           (4) Granting Class Representatives in Tier Two (as defined in the Settlement

              Agreement at § 1.ww., id., PageID.26867; see also id. at § 6.a.,

              PageID.26877-26878)), Rosalyn Ingham, Paul Groenendal, Nancy James,

              individually and as Trustee of the James Nancy I Trust, and Theodore

              James, a Service Award of $15,000 each, or $60,000 in the aggregate, in

              recognition of their efforts on behalf of the Class; and

           (5) Awarding such other and further relief as the Court deems reasonable and

              just.10


       Dated: March 3, 2023                     Respectfully submitted,

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                                                Co-Lead Counsel


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           Proposed Order attached as Exhibit 7 hereto.
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                 CERTIFICATE REGARDING WORD COUNT

        Plaintiffs, in compliance with L.R. 7.2(b)(i)-(ii), used 8,062 words in

  Plaintiffs’ foregoing brief. Microsoft Word for Office 365 Business version 1910 is

  the word processing software used to generate the word count in the attached brief.

   Dated: March 3, 2023                    Respectfully Submitted:

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                           CERTIFICATE OF SERVICE

        I, Sharon S. Almonrode, hereby certify that on March 3, 2023 I served the

  above and foregoing motion all counsel of record by filing it electronically with the

  Clerk of the Court using the CM/ECF filing system and served a copy via UPS Next

  Day Air on Mr. William J. Mitchell at:

               William J. Mitchell
               2280 Algoma Woods Drive
               Rockford, MI 40341



                                         /s Sharon S. Almonrode
                                         Sharon S. Almonrode
